                      Case 18-41971          Doc 8     Filed 09/12/18   Entered 09/12/18 15:14:35         Desc Main Document           Page 1 of 66




  Fill in this information to identify your case and this filing:
  Debtor 1               Jeremy                      Darrell              Archer
                         First Name                  Middle Name          Last Name

  Debtor 2            Kristen                        LeAnn                Archer
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number            18-41971-btr-7                                                                                             Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
2305 Wildwood Lane                                         Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Paris                            TX       75461                Manufactured or mobile home                               $487,180.00                  $487,180.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
Lamar                                                                                                        entireties, or a life estate), if known.
                                                               Other
County
                                                                                                             Fee Simple
                                                           Who has an interest in the property?
2305 Wildwood Lane Paris, TX 75461
                                                           Check one.
Single Family Residence
                                                               Debtor 1 only                                      Check if this is community property
                                                               Debtor 2 only                                      (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:  108991

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $487,180.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                    Schedule A/B: Property                                                               page 1
                    Case 18-41971    Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35     Desc Main Document      Page 2 of 66



Debtor 1         Jeremy Darrell Archer
Debtor 2         Kristen LeAnn Archer                                                     Case number (if known)   18-41971-btr-7

3.1.                                            Who has an interest in the property?          Do not deduct secured claims or exemptions. Put the
Make:                    Chevrolet              Check one.                                    amount of any secured claims on Schedule D:
                                                    Debtor 1 only                             Creditors Who Have Claims Secured by Property.
Model:                   Tahoe
                                                    Debtor 2 only                           Current value of the         Current value of the
Year:                    2010
                                                    Debtor 1 and Debtor 2 only              entire property?             portion you own?
Approximate mileage: 120,000                        At least one of the debtors and another            $17,200.00                  $17,200.00
Other information:
2010 Chevrolet Tahoe (approx. 120000                Check if this is community property
miles)                                              (see instructions)

3.2.                                            Who has an interest in the property?          Do not deduct secured claims or exemptions. Put the
Make:                    Cadillac               Check one.                                    amount of any secured claims on Schedule D:
                                                    Debtor 1 only                             Creditors Who Have Claims Secured by Property.
Model:                   CTS
                                                    Debtor 2 only                           Current value of the         Current value of the
Year:                    2013                                                               entire property?             portion you own?
                                                    Debtor 1 and Debtor 2 only
Approximate mileage: 75,000                         At least one of the debtors and another            $15,825.00                  $15,825.00
Other information:
2013 Cadillac CTS (approx. 75000                    Check if this is community property
miles)                                              (see instructions)

3.3.                                            Who has an interest in the property?          Do not deduct secured claims or exemptions. Put the
Make:                    Dodge                  Check one.                                    amount of any secured claims on Schedule D:
                                                    Debtor 1 only                             Creditors Who Have Claims Secured by Property.
Model:                   Ram 3500
                                                    Debtor 2 only                           Current value of the         Current value of the
Year:                    2015
                                                    Debtor 1 and Debtor 2 only              entire property?             portion you own?
Approximate mileage: 135,000                        At least one of the debtors and another            $16,950.00                  $16,950.00
Other information:
2015 Dodge Ram 3500 (approx.                        Check if this is community property
135000 miles)                                       (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

4.1.                                            Who has an interest in the property?          Do not deduct secured claims or exemptions. Put the
Make:                    Crusader               Check one.                                    amount of any secured claims on Schedule D:
                                                    Debtor 1 only                             Creditors Who Have Claims Secured by Property.
Model:                   5th Wheel
                                                    Debtor 2 only                           Current value of the         Current value of the
Year:                    2013                                                               entire property?             portion you own?
                                                    Debtor 1 and Debtor 2 only
Other information:                                  At least one of the debtors and another            $25,000.00                  $25,000.00
2013 Crusader 5th Wheel
                                                    Check if this is community property
                                                    (see instructions)
4.2.                                            Who has an interest in the property?          Do not deduct secured claims or exemptions. Put the
Make:                                           Check one.                                    amount of any secured claims on Schedule D:
                                                                                              Creditors Who Have Claims Secured by Property.
Model:                   2017 5X8 Utility Trailer Debtor 1 only
                                                    Debtor 2 only                           Current value of the         Current value of the
Year:
                                                    Debtor 1 and Debtor 2 only              entire property?             portion you own?
Other information:                                  At least one of the debtors and another                $500.00                    $500.00
2017 5X8 Utility Trailer
                                                    Check if this is community property
                                                    (see instructions)




Official Form 106A/B                                          Schedule A/B: Property                                                     page 2
                    Case 18-41971       Doc 8     Filed 09/12/18      Entered 09/12/18 15:14:35         Desc Main Document           Page 3 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                                  Case number (if known)         18-41971-btr-7

4.3.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Four Winns                   Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Boat
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     1990
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                          At least one of the debtors and another             $3,000.00                             $3,000.00
1990 Four Winns Boat
                                                            Check if this is community property
                                                            (see instructions)
4.4.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Rockwood                     Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Ultralight
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2009
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                          At least one of the debtors and another             $5,000.00                             $5,000.00
2009 Rockwood Ultralight
                                                            Check if this is community property
                                                            (see instructions)
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $83,475.00


 Part 3:         Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $4,775.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $1,090.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $1,200.00

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               Treadmill and Weight Bench                                                                                               $200.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............
                               380                                                                                                                      $500.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
                         Case 18-41971                Doc 8        Filed 09/12/18             Entered 09/12/18 15:14:35                     Desc Main Document                      Page 4 of 66



Debtor 1          Jeremy Darrell Archer
Debtor 2          Kristen LeAnn Archer                                                                                                  Case number (if known)                    18-41971-btr-7

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                         $950.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                      $1,300.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Dog                                                                                                                                                                                    $10.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                        $10,025.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Checking account                                                                                                                               ($485.15)
             17.2.        Checking account:                      Checking account                                                                                                                               ($221.00)
             17.3.        Savings account:                       Savings account                                                                                                                                        $0.00
             17.4.        Savings account:                       Savings account                                                                                                                                        $0.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                     page 4
                       Case 18-41971           Doc 8       Filed 09/12/18   Entered 09/12/18 15:14:35     Desc Main Document     Page 5 of 66



Debtor 1         Jeremy Darrell Archer
Debtor 2         Kristen LeAnn Archer                                                                   Case number (if known)   18-41971-btr-7

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                       % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:          Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                      Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                        Schedule A/B: Property                                                page 5
                       Case 18-41971             Doc 8     Filed 09/12/18        Entered 09/12/18 15:14:35              Desc Main Document               Page 6 of 66



Debtor 1         Jeremy Darrell Archer
Debtor 2         Kristen LeAnn Archer                                                                                Case number (if known)             18-41971-btr-7

Money or property owed to you?                                                                                                                                   Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

            No
            Yes. Give specific information                                                                                                            Federal:
            about them, including whether
            you already filed the returns                                                                                                             State:
            and the tax years.....................................
                                                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:

                                                                                                                                      Maintenance:

                                                                                                                                      Support:

                                                                                                                                      Divorce settlement:

                                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................     Company name:                                                Beneficiary:                                Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................      ($706.15)



Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
                       Case 18-41971           Doc 8      Filed 09/12/18         Entered 09/12/18 15:14:35              Desc Main Document               Page 7 of 66



Debtor 1         Jeremy Darrell Archer
Debtor 2         Kristen LeAnn Archer                                                                                Case number (if known)             18-41971-btr-7


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

                                     ArchCo LLC

                                     Hemphill ISD owes Archco 30,000 that is the subject of a
                                     lawsuit between Archco and Camp Davis. There is also a
                                     settlement with Sun Country for 30,000 controlled by a
                                     receiver in the Genan case. Gadsen ISD owes Archco
                                     5000.

                                     Assets not controlled by receiver = 5000
                                     Estimated corporate liabilities = 700,000

                                                                                                                                             100%                               $0.00
43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
                        Case 18-41971           Doc 8     Filed 09/12/18         Entered 09/12/18 15:14:35              Desc Main Document               Page 8 of 66



Debtor 1          Jeremy Darrell Archer
Debtor 2          Kristen LeAnn Archer                                                                               Case number (if known)             18-41971-btr-7


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
                         Case 18-41971             Doc 8       Filed 09/12/18          Entered 09/12/18 15:14:35                 Desc Main Document                  Page 9 of 66



Debtor 1           Jeremy Darrell Archer
Debtor 2           Kristen LeAnn Archer                                                                                       Case number (if known)                18-41971-btr-7


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $487,180.00

56. Part 2: Total vehicles, line 5                                                                                  $83,475.00

57. Part 3: Total personal and household items, line 15                                                             $10,025.00

58. Part 4: Total financial assets, line 36                                                                            ($706.15)

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $92,793.85              property total                 +           $92,793.85



63. Total of all property on Schedule A/B.                                                                                                                                                  $579,973.85
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 9
                 Case 18-41971   Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35    Desc Main Document      Page 10 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                    Case number (if known)   18-41971-btr-7


6.   Household goods and furnishings (details):

     2 Couches                                                                                                                  $200.00

     5 Chairs                                                                                                                   $250.00

     Recliner                                                                                                                   $150.00

     Loveseat                                                                                                                   $150.00

     7 Lamps                                                                                                                    $100.00

     2 Coffee Tables                                                                                                             $75.00

     5 End Tables                                                                                                               $270.00

     2 Dining Tables                                                                                                            $400.00

     Dishes                                                                                                                      $50.00

     Pots/pans                                                                                                                   $30.00

     4 Appliances                                                                                                                $50.00

     Refrigertor                                                                                                                $100.00

     Washing Machine/Clothes Dryer                                                                                              $200.00

     Dishwasher                                                                                                                  $50.00

     Stove/Oven                                                                                                                 $200.00

     Microwave                                                                                                                  $100.00

     2 Freezers                                                                                                                 $150.00

     5 Beds                                                                                                                     $250.00

     3 Dressers                                                                                                                 $375.00

     5 Night Tables                                                                                                             $175.00

     2 Mirrors                                                                                                                  $100.00

     Toys                                                                                                                       $250.00

     Lawn Mower                                                                                                                 $250.00

     Lawn Furniture                                                                                                             $250.00

     Desk                                                                                                                       $600.00

7.   Electronics (details):

     7 Televisions                                                                                                              $750.00

     Stereo                                                                                                                      $30.00

     2 DVD Players                                                                                                               $30.00

     VCR                                                                                                                         $10.00

     CD Player                                                                                                                    $5.00

     Video Camera                                                                                                               $100.00

     Telephone                                                                                                                   $15.00


Official Form 106A/B                                      Schedule A/B: Property                                                  page 10
                  Case 18-41971    Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35    Desc Main Document      Page 11 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                     Case number (if known)   18-41971-btr-7

     Computer                                                                                                                      $50.00

     Printer                                                                                                                      $100.00

8.   Collectibles of value (details):

     Books                                                                                                                        $300.00

     Pictures                                                                                                                     $200.00

     Video Games                                                                                                                  $250.00

     CDs                                                                                                                          $100.00

     DVDs                                                                                                                         $250.00

     2 Guitars                                                                                                                    $100.00

11. Clothes (details):

     Clothes                                                                                                                      $500.00

     Shoes                                                                                                                        $250.00

     Accessories                                                                                                                  $200.00

12. Jewelry (details):

     His Wedding Band                                                                                                             $500.00

     Her Wedding Band                                                                                                             $500.00

     2 Watches                                                                                                                    $100.00

     Costume Jewlery                                                                                                              $200.00




Official Form 106A/B                                        Schedule A/B: Property                                                  page 11
                     Case 18-41971   Doc 8     Filed 09/12/18     Entered 09/12/18 15:14:35     Desc Main Document        Page 12 of 66




 Fill in this information to identify your case:
 Debtor 1              Jeremy                Darrell                Archer
                       First Name            Middle Name            Last Name
 Debtor 2            Kristen                 LeAnn                  Archer
 (Spouse, if filing) First Name              Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                        Check if this is an
 Case number           18-41971-btr-7                                                                                   amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                   04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?                Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on              Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                      the portion you      exemption you claim
                                                           own
                                                           Copy the value from Check only one box for
                                                           Schedule A/B        each exemption


Brief description:                                           $487,180.00                 $116,767.68         Const. art. 16 §§ 50, 51, Texas
2305 Wildwood Lane Paris, TX 75461                                                   100% of fair market     Prop. Code §§ 41.001-.002
Single Family Residence                                                              value, up to any
Parcel: 108991                                                                       applicable statutory
Line from Schedule A/B: 1.1                                                          limit

Brief description:                                            $17,200.00                  $4,112.00          Tex. Prop. Code §§ 42.001(a),
2010 Chevrolet Tahoe (approx. 120000                                                 100% of fair market     42.002(a)(9)
miles)                                                                               value, up to any
Line from Schedule A/B: 3.1                                                          applicable statutory
                                                                                     limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                                page 1
                     Case 18-41971   Doc 8   Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document      Page 13 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                         Case number (if known)   18-41971-btr-7

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                       $15,825.00                    $0.00            Tex. Prop. Code §§ 42.001(a),
2013 Cadillac CTS (approx. 75000 miles)                                         100% of fair market     42.002(a)(9)
                                                                                value, up to any
Line from Schedule A/B:       3.2
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
2 Couches                                                                       100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
5 Chairs                                                                        100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $150.00                 $150.00           Tex. Prop. Code §§ 42.001(a),
Recliner                                                                        100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $150.00                 $150.00           Tex. Prop. Code §§ 42.001(a),
Loveseat                                                                        100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
7 Lamps                                                                         100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $75.00                  $75.00            Tex. Prop. Code §§ 42.001(a),
2 Coffee Tables                                                                 100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $270.00                 $270.00           Tex. Prop. Code §§ 42.001(a),
5 End Tables                                                                    100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $400.00                 $400.00           Tex. Prop. Code §§ 42.001(a),
2 Dining Tables                                                                 100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                            page 2
                     Case 18-41971   Doc 8   Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document      Page 14 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                         Case number (if known)   18-41971-btr-7

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                            $50.00                  $50.00            Tex. Prop. Code §§ 42.001(a),
Dishes                                                                          100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $30.00                  $30.00            Tex. Prop. Code §§ 42.001(a),
Pots/pans                                                                       100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $50.00                  $50.00            Tex. Prop. Code §§ 42.001(a),
4 Appliances                                                                    100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
Refrigertor                                                                     100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Washing Machine/Clothes Dryer                                                   100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $50.00                  $50.00            Tex. Prop. Code §§ 42.001(a),
Dishwasher                                                                      100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Stove/Oven                                                                      100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
Microwave                                                                       100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $150.00                 $150.00           Tex. Prop. Code §§ 42.001(a),
2 Freezers                                                                      100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                            page 3
                     Case 18-41971   Doc 8   Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document      Page 15 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                         Case number (if known)   18-41971-btr-7

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                            $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
5 Beds                                                                          100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $375.00                 $375.00           Tex. Prop. Code §§ 42.001(a),
3 Dressers                                                                      100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $175.00                 $175.00           Tex. Prop. Code §§ 42.001(a),
5 Night Tables                                                                  100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
2 Mirrors                                                                       100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
Toys                                                                            100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
Lawn Mower                                                                      100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
Lawn Furniture                                                                  100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $600.00                 $600.00           Tex. Prop. Code §§ 42.001(a),
Desk                                                                            100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $750.00                 $750.00           Tex. Prop. Code §§ 42.001(a),
7 Televisions                                                                   100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        7
                                                                                applicable statutory
                                                                                limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                            page 4
                     Case 18-41971   Doc 8   Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document      Page 16 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                         Case number (if known)   18-41971-btr-7

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                            $30.00                  $30.00            Tex. Prop. Code §§ 42.001(a),
Stereo                                                                          100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        7
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $30.00                  $30.00            Tex. Prop. Code §§ 42.001(a),
2 DVD Players                                                                   100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        7
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $10.00                  $10.00            Tex. Prop. Code §§ 42.001(a),
VCR                                                                             100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        7
                                                                                applicable statutory
                                                                                limit

Brief description:                                             $5.00                   $5.00            Tex. Prop. Code §§ 42.001(a),
CD Player                                                                       100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        7
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
Video Camera                                                                    100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        7
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $15.00                  $15.00            Tex. Prop. Code §§ 42.001(a),
Telephone                                                                       100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        7
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $50.00                  $50.00            Tex. Prop. Code §§ 42.001(a),
Computer                                                                        100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        7
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
Printer                                                                         100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        7
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $300.00                 $300.00           Tex. Prop. Code §§ 42.001(a),
Books                                                                           100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        8
                                                                                applicable statutory
                                                                                limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                            page 5
                     Case 18-41971   Doc 8   Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document      Page 17 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                         Case number (if known)   18-41971-btr-7

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Pictures                                                                        100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        8
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
Video Games                                                                     100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        8
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
CDs                                                                             100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        8
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
DVDs                                                                            100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        8
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
2 Guitars                                                                       100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:        8
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Treadmill and Weight Bench                                                      100% of fair market     42.002(a)(8)
                                                                                value, up to any
Line from Schedule A/B:        9
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $500.00                 $500.00           Tex. Prop. Code §§ 42.001(a),
380                                                                             100% of fair market     42.002(a)(7)
                                                                                value, up to any
Line from Schedule A/B:       10
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $500.00                 $500.00           Tex. Prop. Code §§ 42.001(a),
Clothes                                                                         100% of fair market     42.002(a)(5)
                                                                                value, up to any
Line from Schedule A/B:       11
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
Shoes                                                                           100% of fair market     42.002(a)(5)
                                                                                value, up to any
Line from Schedule A/B:       11
                                                                                applicable statutory
                                                                                limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                            page 6
                     Case 18-41971   Doc 8   Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document      Page 18 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                         Case number (if known)   18-41971-btr-7

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Accessories                                                                     100% of fair market     42.002(a)(5)
                                                                                value, up to any
Line from Schedule A/B:       11
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $500.00                 $500.00           Tex. Prop. Code §§ 42.001(a),
His Wedding Band                                                                100% of fair market     42.002(a)(6)
                                                                                value, up to any
Line from Schedule A/B:       12
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $500.00                 $500.00           Tex. Prop. Code §§ 42.001(a),
Her Wedding Band                                                                100% of fair market     42.002(a)(6)
                                                                                value, up to any
Line from Schedule A/B:       12
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
2 Watches                                                                       100% of fair market     42.002(a)(6)
                                                                                value, up to any
Line from Schedule A/B:       12
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Costume Jewlery                                                                 100% of fair market     42.002(a)(6)
                                                                                value, up to any
Line from Schedule A/B:       12
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $10.00                  $10.00            Tex. Prop. Code §§ 42.001(a),
Dog                                                                             100% of fair market     42.002(a)(11)
                                                                                value, up to any
Line from Schedule A/B:       13
                                                                                applicable statutory
                                                                                limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                            page 7
                    Case 18-41971       Doc 8     Filed 09/12/18   Entered 09/12/18 15:14:35   Desc Main Document      Page 19 of 66



                                                 UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF TEXAS
                                                         SHERMAN DIVISION
  IN RE: Jeremy Darrell Archer                                                                   CASE NO        18-41971-btr-7
         Kristen LeAnn Archer
                                                                                                 CHAPTER        7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                         Scheme Selected: State
                                                                Gross                 Total             Total         Total Amount     Total Amount
No.     Category                                        Property Value        Encumbrances             Equity               Exempt      Non-Exempt


1.      Real property                                    $487,180.00            $370,412.32      $116,767.68          $116,767.68            $0.00

3.      Motor vehicles (cars, etc.)                       $33,025.00             $38,795.00        $4,112.00             $4,112.00           $0.00

4.      Water/Aircraft, Motor Homes,                      $33,500.00              $1,400.00       $32,100.00                 $0.00      $32,100.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $4,775.00                  $0.00        $4,775.00             $4,775.00           $0.00

7.      Electronics                                        $1,090.00                  $0.00        $1,090.00             $1,090.00           $0.00

8.      Collectibles of value                              $1,200.00                  $0.00        $1,200.00             $1,200.00           $0.00

9.      Equipment for sports and hobbies                     $200.00                  $0.00          $200.00              $200.00            $0.00

10.     Firearms                                             $500.00                  $0.00          $500.00              $500.00            $0.00

11.     Clothes                                              $950.00                  $0.00          $950.00              $950.00            $0.00

12.     Jewelry                                            $1,300.00                  $0.00        $1,300.00             $1,300.00           $0.00

13.     Non-farm animals                                      $10.00                  $0.00           $10.00               $10.00            $0.00

14.     Unlisted pers. and household items-                    $0.00                  $0.00            $0.00                 $0.00           $0.00
        incl. health aids

16.     Cash                                                   $0.00                  $0.00            $0.00                 $0.00           $0.00

17.     Deposits of money                                   ($706.15)                 $0.00            $0.00                 $0.00           $0.00

18.     Bonds, mutual funds or publicly                        $0.00                  $0.00            $0.00                 $0.00           $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00                  $0.00            $0.00                 $0.00           $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                  $0.00            $0.00                 $0.00           $0.00
        instruments

21.     Retirement or pension accounts                         $0.00                  $0.00            $0.00                 $0.00           $0.00

22.     Security deposits and prepayments                      $0.00                  $0.00            $0.00                 $0.00           $0.00

23.     Annuities                                              $0.00                  $0.00            $0.00                 $0.00           $0.00

24.     Interests in an education IRA                          $0.00                  $0.00            $0.00                 $0.00           $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                  $0.00            $0.00                 $0.00           $0.00

26.     Patents, copyrights, and other                         $0.00                  $0.00            $0.00                 $0.00           $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                  $0.00            $0.00                 $0.00           $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                  $0.00            $0.00                 $0.00           $0.00
                    Case 18-41971      Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35   Desc Main Document      Page 20 of 66



                                               UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF TEXAS
                                                       SHERMAN DIVISION
  IN RE: Jeremy Darrell Archer                                                                CASE NO        18-41971-btr-7
         Kristen LeAnn Archer
                                                                                              CHAPTER        7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                      Scheme Selected: State
                                                            Gross                  Total             Total         Total Amount     Total Amount
No.     Category                                    Property Value         Encumbrances             Equity               Exempt      Non-Exempt


29.     Family support                                      $0.00                   $0.00           $0.00                 $0.00           $0.00

30.     Other amounts someone owes you                      $0.00                   $0.00           $0.00                 $0.00           $0.00

31.     Interests in insurance policies                     $0.00                   $0.00           $0.00                 $0.00           $0.00

32.     Any int. in prop. due you from                      $0.00                   $0.00           $0.00                 $0.00           $0.00
        someone who has died

33.     Claims vs. third parties, even                      $0.00                   $0.00           $0.00                 $0.00           $0.00
        if no demand

34.     Other contin. and unliq. claims                     $0.00                   $0.00           $0.00                 $0.00           $0.00
        of every nature

35.     Any financial assets you did                        $0.00                   $0.00           $0.00                 $0.00           $0.00
        not already list

38.     Accounts rec. or commissions you                    $0.00                   $0.00           $0.00                 $0.00           $0.00
        already earned

39.     Office equipment, furnishings,                      $0.00                   $0.00           $0.00                 $0.00           $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                  $0.00                   $0.00           $0.00                 $0.00           $0.00
        tools of trade

41.     Inventory                                           $0.00                   $0.00           $0.00                 $0.00           $0.00

42.     Interests in partnerships or                        $0.00                   $0.00           $0.00                 $0.00           $0.00
        joint ventures

43.     Customer and mailing lists, or                      $0.00                   $0.00           $0.00                 $0.00           $0.00
        other compilations

44.     Any business-related property not                   $0.00                   $0.00           $0.00                 $0.00           $0.00
        already listed

47.     Farm animals                                        $0.00                   $0.00           $0.00                 $0.00           $0.00

48.     Crops--either growing or harvested                  $0.00                   $0.00           $0.00                 $0.00           $0.00

49.     Farm/fishing equip., impl., mach.,                  $0.00                   $0.00           $0.00                 $0.00           $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,               $0.00                   $0.00           $0.00                 $0.00           $0.00
        and feed

51.     Farm/commercial fishing-related prop.               $0.00                   $0.00           $0.00                 $0.00           $0.00
        not listed

53.     Any other property of any kind not                  $0.00                   $0.00           $0.00                 $0.00           $0.00
        already listed

                    TOTALS:                          $563,023.85              $410,607.32     $163,004.68          $130,904.68       $32,100.00
                    Case 18-41971     Doc 8    Filed 09/12/18   Entered 09/12/18 15:14:35    Desc Main Document      Page 21 of 66



                                              UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF TEXAS
                                                      SHERMAN DIVISION
  IN RE: Jeremy Darrell Archer                                                                  CASE NO      18-41971-btr-7
         Kristen LeAnn Archer
                                                                                               CHAPTER       7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                      Market Value                     Lien             Equity

Real Property
(None)
Personal Property

2015 Dodge Ram 3500 (approx. 135000 miles)                                                    $16,950.00              $27,170.00                  $0.00


                   TOTALS:                                                                    $16,950.00              $27,170.00                  $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                  Market Value               Lien             Equity      Non-Exempt Amount

Real Property
(None)
Personal Property

2013 Crusader 5th Wheel                                                    $25,000.00         $1,400.00      $23,600.00                  $23,600.00

2017 5X8 Utility Trailer                                                      $500.00                             $500.00                   $500.00

1990 Four Winns Boat                                                         $3,000.00                           $3,000.00                $3,000.00

2009 Rockwood Ultralight                                                     $5,000.00                           $5,000.00                $5,000.00


                   TOTALS:                                                  $33,500.00        $1,400.00       $32,100.00                 $32,100.00
              Case 18-41971     Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35   Desc Main Document   Page 22 of 66



                                        UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF TEXAS
                                                SHERMAN DIVISION
IN RE: Jeremy Darrell Archer                                                           CASE NO      18-41971-btr-7
       Kristen LeAnn Archer
                                                                                       CHAPTER      7

                      SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                         Continuation Sheet # 3




                                                          Summary
       A. Gross Property Value (not including surrendered property)                                       $563,023.85

       B. Gross Property Value of Surrendered Property                                                     $16,950.00

       C. Total Gross Property Value (A+B)                                                                $579,973.85

       D. Gross Amount of Encumbrances (not including surrendered property)                               $410,607.32

       E. Gross Amount of Encumbrances on Surrendered Property                                             $27,170.00

       F. Total Gross Encumbrances (D+E)                                                                  $437,777.32

       G. Total Equity (not including surrendered property) / (A-D)                                       $163,004.68

       H. Total Equity in surrendered items (B-E)                                                               $0.00

       I. Total Equity (C-F)                                                                              $163,004.68

       J. Total Exemptions Claimed                                                                        $130,904.68

       K. Total Non-Exempt Property Remaining (G-J)                                                       $32,100.00
                      Case 18-41971    Doc 8     Filed 09/12/18   Entered 09/12/18 15:14:35     Desc Main Document        Page 23 of 66




  Fill in this information to identify your case:
  Debtor 1              Jeremy                 Darrell              Archer
                        First Name             Middle Name          Last Name

  Debtor 2            Kristen                  LeAnn                Archer
  (Spouse, if filing) First Name               Middle Name          Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number           18-41971-btr-7                                                                                  Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one              Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As           Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the          Do not deduct the      that supports this     portion
        creditor's name.                                                                  value of collateral    claim                  If any

  2.1                                             Describe the property that
                                                  secures the claim:                            $13,088.00              $17,200.00
Citizens Bank
Creditor's name
                                                  2010 Chevrolet Tahoe
Attention: ROP-15B
Number       Street
1 Citizens Drive
                                                  As of the date you file, the claim is: Check all that apply.
                                                      Contingent
Riverside                RI      02940                Unliquidated
City                     State   ZIP Code
                                                      Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile Lien
   to a community debt
Date debt was incurred           10/2013          Last 4 digits of account number        4     5    9    3
Direct Pay-Reaffirm




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                               $13,088.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                          page 1
                    Case 18-41971     Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35     Desc Main Document        Page 24 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                         Case number (if known)      18-41971-btr-7

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.2                                          Describe the property that
                                               secures the claim:                               $1,400.00              $4,500.00
Commercial Bk Texas Na                         2013 Crusader 5th Wheel
Creditor's name
215 E Main St
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Nacogdoches             TX      75961              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Recreational
   to a community debt
Date debt was incurred          09//24/2012    Last 4 digits of account number        6     8    0    2
Direct Pay
  2.3                                          Describe the property that
                                               secures the claim:                            $27,170.00              $16,950.00         $10,220.00
Guaranty Bank & Trust
Creditor's name
                                               2015 Dodge Ram 3500
P O Box 1158
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Mount Pleasant          TX      75456              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile Lien
   to a community debt
Date debt was incurred          07/20/2015     Last 4 digits of account number        0     3    0    4
Surender




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                            $28,570.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2
                    Case 18-41971     Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35     Desc Main Document        Page 25 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                         Case number (if known)      18-41971-btr-7

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.4                                          Describe the property that
                                               secures the claim:                           $181,564.81             $182,000.00
Guaranty Bank & Trust                          Trailers & AR
Creditor's name
P O Box 1158
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Mount Pleasant          TX      75456              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Secured
   to a community debt
Date debt was incurred                         Last 4 digits of account number        0     2    8    5
Surrender
  2.5                                          Describe the property that
                                               secures the claim:                            $11,305.32             $487,180.00
Lamar County Tax Assessor
Creditor's name
                                               2305 Wildwood Lane Paris,
521 Bonham St.                                 TX 75462
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Paris                   TX      75460              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Taxes
   to a community debt
Date debt was incurred                         Last 4 digits of account number        8     9    9    1
Direct Pay




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $192,870.13

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3
                    Case 18-41971     Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35     Desc Main Document        Page 26 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                         Case number (if known)      18-41971-btr-7

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.6                                          Describe the property that
                                               secures the claim:                           $359,107.00             $487,180.00
Liberty Ntl                                    2305 Wildwood Lane Paris,
Creditor's name
305 Lamar Ave                                  TX 75461
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Paris                   TX      75460              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Real Estate Specific Type Unknown
   to a community debt
Date debt was incurred          04/17/2014     Last 4 digits of account number        0     7    7    1
Direct Pay-Reaffirm
  2.7                                          Describe the property that
                                               secures the claim:                            $25,707.00              $15,825.00         $9,882.00
Wells Fargo Dealer Services
Creditor's name
                                               2013 Cadillac CTS
Attn: Bankruptcy
Number     Street
PO Box 19657
                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Irvine                  CA      92623              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile Lien
   to a community debt
Date debt was incurred          06/2016        Last 4 digits of account number        1     3    4    2
Direct Pay-Reaffirm




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $384,814.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $619,342.13

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 4
                      Case 18-41971     Doc 8     Filed 09/12/18   Entered 09/12/18 15:14:35     Desc Main Document           Page 27 of 66




  Fill in this information to identify your case:
  Debtor 1              Jeremy                  Darrell               Archer
                        First Name              Middle Name           Last Name

  Debtor 2            Kristen                   LeAnn                 Archer
  (Spouse, if filing) First Name                Middle Name           Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number           18-41971-btr-7                                                                                   Check if this is an
  (if known)
                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim        Priority              Nonpriority
                                                                                                                         amount                amount

     2.1                                                                                               $169,279.33           $169,279.33              $0.00
Internal Revenue Service
Priority Creditor's Name                                      Last 4 digits of account number
Centralized Insolvency Operations                             When was the debt incurred?
Number       Street
PO Box 7346                                                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
Philadelphia                    PA       19101-7346               Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.                             Type of PRIORITY unsecured claim:
     Debtor 1 only                                               Domestic support obligations
     Debtor 2 only                                               Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                  Claims for death or personal injury while you were
     At least one of the debtors and another                     intoxicated
     Check if this claim is for a community debt                 Other. Specify
Is the claim subject to offset?
     No
     Yes
Direct Pay




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
                      Case 18-41971    Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35     Desc Main Document          Page 28 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                          Case number (if known)       18-41971-btr-7

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                          Total claim        Priority            Nonpriority
previous page.                                                                                                        amount              amount


   2.2                                                                                               $10,000.00           $10,000.00             $0.00
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number
Centralized Insolvency Operations                          When was the debt incurred?
Number       Street
PO Box 7346                                                As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                   PA       19101-7346             Disputed
City                           State    ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes
Direct Pay




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35      Desc Main Document         Page 29 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                             Case number (if known)      18-41971-btr-7

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                               $0.00
ACT Global                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
4201 W. Parmer Lane Ste. B175
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Austin                          TX       78727
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Business Debt
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                       $324,488.96
ACT Global c/o John Ferguson                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
9015 Mopac Blvd. Ste. 200
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Austin                          TX       78746
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - ACT Global
Is the claim subject to offset?
     No
     Yes
ACT Global v Archco Superior Construction and Jeremy Archer




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 3
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 30 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

   4.3                                                                                                                                      $97,248.50
Alan Scheinthal                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
4635 S.W. Freeway Ste. 720
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Houston                         TX       77027
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Business Debt
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                            $0.00
Allied Interstate                                           Last 4 digits of account number       6    9    0    0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
3000 Corporate Exchange Dr 5th Fl
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Columbus                        OH       43231
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - PayPal
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                           $61.00
AMCA/American Medical Collection Agency                     Last 4 digits of account number       7 9 6          4
Nonpriority Creditor's Name
                                                            When was the debt incurred?         08/28/2017
Attention: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
4 Westchester Plaza, Suite 110                                  Contingent
                                                                Unliquidated
                                                                Disputed
Elmsford                        NY       10523
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Original Creditor Name: QUEST DIAGNOSTICS INCOPORA
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                             page 4
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 31 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

   4.6                                                                                                                                          $849.00
AMCOL Systems, Inc.                                         Last 4 digits of account number       2 5       8    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?         02/2017
Amcol Systems, Inc.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 21625                                                    Contingent
                                                                Unliquidated
                                                                Disputed
Columbia                        SC       29221
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Original Creditor Name: FIRST CHOICE EMERGENCY ROO
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                           $71.00
AMCOL Systems, Inc.                                         Last 4 digits of account number       3 4       2    9
Nonpriority Creditor's Name
                                                            When was the debt incurred?         08/2016
Amcol Systems, Inc.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 21625                                                    Contingent
                                                                Unliquidated
                                                                Disputed
Columbia                        SC       29221
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Original Creditor Name: FIRST CHOICE EMERGENCY ROO
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                            $0.00
Atlantic Credit & Finance Inc                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 13386
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Roanoke                         VA       24033-3386
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Paypal
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                             page 5
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 32 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

   4.9                                                                                                                                            $0.00
Atlantic Credit & Finance Inc                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 2083
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Warren                          MT       48090
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Synchrony Bank
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                        $1,733.00
Bank Of America                                             Last 4 digits of account number       6 0       1    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?         02/2004
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 982238                                                   Contingent
                                                                Unliquidated
                                                                Disputed
El Paso                         TX       79998
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                            $0.00
Barnett & Garcia PLLC                                       Last 4 digits of account number       0    4    8    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
3821 Juniper Trace Ste. 108
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Austin                          TX       78738
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Attorney for - Genan inc
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                             page 6
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 33 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.12                                                                                                                                            $0.00
C&C Rental                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
2720 N. Main St,
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Paris                           TX       75460
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Services
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                          $125.90
Calvary Urget Care                                          Last 4 digits of account number       3    8    1    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 45012
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Loves Park                      IL       61131
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Medical
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                      $15,899.00
Capital One                                                 Last 4 digits of account number       1 2       6    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?         06/2010
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                    Contingent
                                                                Unliquidated
                                                                Disputed
Salt Lake City                  UT       84130
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Charge Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                             page 7
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 34 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.15                                                                                                                                        $2,090.00
Cavalry Portfolio Services                                  Last 4 digits of account number       5 6       0    8
Nonpriority Creditor's Name
                                                            When was the debt incurred?         01/2017
ATTN: Bankruptcy Department
Number        Street                                        As of the date you file, the claim is: Check all that apply.
500 Summit Lake Ste 400                                         Contingent
                                                                Unliquidated
                                                                Disputed
Valhalla                        NY       10595
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Original Creditor Name: SYNCHRONY BANK
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                          $646.00
Cavalry Portfolio Services                                  Last 4 digits of account number       9 6       1    7
Nonpriority Creditor's Name
                                                            When was the debt incurred?         03/2017
ATTN: Bankruptcy Department
Number        Street                                        As of the date you file, the claim is: Check all that apply.
500 Summit Lake Ste 400                                         Contingent
                                                                Unliquidated
                                                                Disputed
Valhalla                        NY       10595
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Original Creditor Name: SYNCHRONY BANK
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                          $202.34
Central Credit Services, Inc.                               Last 4 digits of account number       2    3    3    A
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 15118
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Jacksonville                    FL       32239
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Lab Corp
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                             page 8
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 35 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.18                                                                                                                                      $16,234.00
Chase Card Services                                         Last 4 digits of account number       2 0       3    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?         11/2011
Correspondence Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                    Contingent
                                                                Unliquidated
                                                                Disputed
Wilmington                      DE       19850
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                        $8,538.00
Chase Card Services                                         Last 4 digits of account number       1 4       8    2
Nonpriority Creditor's Name
                                                            When was the debt incurred?         09/2002
Correspondence Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                    Contingent
                                                                Unliquidated
                                                                Disputed
Wilmington                      DE       19850
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                            $0.00
Chase Card Services                                         Last 4 digits of account number       5 4       8    0
Nonpriority Creditor's Name
                                                            When was the debt incurred?         01/2005
Correspondence Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                    Contingent
                                                                Unliquidated
                                                                Disputed
Wilmington                      DE       19850
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                             page 9
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 36 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.21                                                                                                                                            $0.00
Chrysler Financial/TD Auto Finance                          Last 4 digits of account number       9 6       8    0
Nonpriority Creditor's Name
                                                            When was the debt incurred?         08/2012
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 9223                                                     Contingent
                                                                Unliquidated
                                                                Disputed
Farmington Hills                MI       48333
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Automobile
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                        $1,880.00
Citicards                                                   Last 4 digits of account number       6 2       9    2
Nonpriority Creditor's Name
                                                            When was the debt incurred?         04/2004
Citicorp Credit Services/Attn: Centraliz
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 790040                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Saint Louis                     MO       63179
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                        $1,208.00
Comenity Bank / Bealls                                      Last 4 digits of account number       1 6       1    8
Nonpriority Creditor's Name
                                                            When was the debt incurred?         10/2001
Attn: Bankruptcy Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 182125                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Columbus                        OH       43218
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Charge Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 10
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 37 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.24                                                                                                                                            $0.00
Comenity Bank/Goodys                                        Last 4 digits of account number       4 8       8    7
Nonpriority Creditor's Name
                                                            When was the debt incurred?         03/2003
Attn: Bankruptcy Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 182125                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Columbus                        OH       43218
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Charge Account
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                            $0.00
Comenity Bank/Maurices                                      Last 4 digits of account number       8 6 7          9
Nonpriority Creditor's Name
                                                            When was the debt incurred?         10/09/2012
Attn: Bankruptcy Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 182125                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Columbus                        OH       43218
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Charge Account
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                            $0.00
Commercial Bk Texas Na                                      Last 4 digits of account number       6 7       9    1
Nonpriority Creditor's Name
                                                            When was the debt incurred?         09/2012
215 E Main St
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Nacogdoches                     TX       75961
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Unsecured
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 11
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 38 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.27                                                                                                                                            $0.00
Credit Collections Services                                 Last 4 digits of account number       9 5       0    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?         01/2018
Attention: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
725 Canton Street                                               Contingent
                                                                Unliquidated
                                                                Disputed
Norwood                         MA       02062
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Original Creditor Name: SAFECO INSURANCE
Is the claim subject to offset?
     No
     Yes
Debtor paid debt

  4.28                                                                                                                                           $72.22
Credit Systems                                              Last 4 digits of account number       2    3    7    0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 1088
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Arlington                       TX       76004
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Radiology Assoc. N. Texas
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 12
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 39 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.29                                                                                                                                            $0.00
Fifth Third Bank                                            Last 4 digits of account number       3 4       6    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?         09/2011
Attn: Bankruptcy Department
Number        Street                                        As of the date you file, the claim is: Check all that apply.
1830 E Paris Ave SE                                             Contingent
                                                                Unliquidated
                                                                Disputed
Grand Rapids                    MI       49546
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Automobile
Is the claim subject to offset?
     No
     Yes

  4.30                                                                                                                                            $0.00
First Choice Emergency Room                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 841047
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Dallas                          TX       75284
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Medical
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                            $0.00
Four Oaks Village RV Park                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
17431 FM1314
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Conroe                          TX       77302
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Services
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 13
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 40 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.32                                                                                                                                            $0.00
GC Services                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 1280
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Oaks                            PA       19456
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Chase Bank
Is the claim subject to offset?
     No
     Yes

  4.33                                                                                                                                      $55,496.81
Genan Inc.                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
18038 Beaumont Hwy.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Houston                         TX       77049
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Business Debt
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                                            $0.00
Guaranty Bank & Trust                                       Last 4 digits of account number       0 0       4    3
Nonpriority Creditor's Name
                                                            When was the debt incurred?         02/2012
P O Box 1158
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Mount Pleasant                  TX       75456
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Secured
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 14
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 41 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.35                                                                                                                                            $0.00
Guaranty Bank & Trust                                       Last 4 digits of account number       0 4       1    1
Nonpriority Creditor's Name
                                                            When was the debt incurred?         09/2014
P O Box 1158
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Mount Pleasant                  TX       75456
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Agriculture
Is the claim subject to offset?
     No
     Yes

  4.36                                                                                                                                            $0.00
Guaranty Bank & Trust                                       Last 4 digits of account number       9 8 5          1
Nonpriority Creditor's Name
                                                            When was the debt incurred?         01/31/2013
P O Box 1158
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Mount Pleasant                  TX       75456
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Unknown Loan Type
Is the claim subject to offset?
     No
     Yes

  4.37                                                                                                                                            $0.00
Guaranty Bank & Trust                                       Last 4 digits of account number       3 8       1    8
Nonpriority Creditor's Name
                                                            When was the debt incurred?         01/2015
P O Box 1158
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Mount Pleasant                  TX       75456
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Agriculture
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 15
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 42 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.38                                                                                                                                            $0.00
Guaranty Bank & Trust                                       Last 4 digits of account number       7 3       3    3
Nonpriority Creditor's Name
                                                            When was the debt incurred?         10/2011
P O Box 1158
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Mount Pleasant                  TX       75456
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Agriculture
Is the claim subject to offset?
     No
     Yes

  4.39                                                                                                                                            $0.00
Jenkins, Wagnon & Young PC                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 420
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Lubbock                         TX       79408-0420
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Attorney for - Synchrony/Rooms To Go
Is the claim subject to offset?
     No
     Yes

  4.40                                                                                                                                            $0.00
Kazlow Fields                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
8100 Sandpiper Circle, Ste 204
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Baltimore                       MD       21236
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Western Surety
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 16
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 43 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.41                                                                                                                                            $0.00
Labcorp                                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 2240
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Burlington                      NC       27216
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Medical
Is the claim subject to offset?
     No
     Yes

  4.42                                                                                                                                      $32,403.00
LG Funding                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
1213 Union St. Ste. 2
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Brooklyn                        NY       11225
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Business Debt
Is the claim subject to offset?
     No
     Yes

  4.43                                                                                                                                          $225.39
Medical City Dallas Hospital                                Last 4 digits of account number       2    1    2    0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 740782
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Cincinnati                      OH       45274
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Medical
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 17
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 44 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.44                                                                                                                                        $2,691.88
Medical City Dallas Hospital                                Last 4 digits of account number       8    6    7    9
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 740782
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Cincinnati                      OH       45274
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Medical
Is the claim subject to offset?
     No
     Yes

  4.45                                                                                                                                            $0.00
Mercantile Adjustment Bureau, LLC                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
165 Lawrence Bell Dr, Ste 100
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Williamsville                   NY       14221
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Bank of America
Is the claim subject to offset?
     No
     Yes

  4.46                                                                                                                                            $0.00
MRS Solutions                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
1930 Olney Ave
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Cherry Hill                     NJ       08003
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Chase
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 18
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 45 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.47                                                                                                                                            $0.00
Nationwide Credit                                           Last 4 digits of account number       1    4    8    2
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 14581
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Des Moines                      IA       50306
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Chase
Is the claim subject to offset?
     No
     Yes

  4.48                                                                                                                                        $2,000.00
Paypal Credit Inc.                                          Last 4 digits of account number       6    9    0    0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Attn: Bankruptcy Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 5138                                                     Contingent
                                                                Unliquidated
                                                                Disputed
Lutherville                     MD       21094
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
     No
     Yes

  4.49                                                                                                                                            $0.00
Quest Diagnostics                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
500 Plaza Drive
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Secaucus                        NJ       07094
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Medical
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 19
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 46 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.50                                                                                                                                            $0.00
Rooms To Go                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P O Box 703
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Wooddale                        IL       60181
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
     No
     Yes

  4.51                                                                                                                                            $0.00
Security Bank Crawford                                      Last 4 digits of account number       6 7       9    1
Nonpriority Creditor's Name
                                                            When was the debt incurred?         09/2012
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed

City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Unsecured
Is the claim subject to offset?
     No
     Yes

  4.52                                                                                                                                            $0.00
Security Bank Crawford                                      Last 4 digits of account number       6 8       0    2
Nonpriority Creditor's Name
                                                            When was the debt incurred?         09/2012
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed

City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Recreational
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 20
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 47 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.53                                                                                                                                            $0.00
Silverline Services                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
860 Broadway 5th FL
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
New York                        NY       10003
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Business Debt
Is the claim subject to offset?
     No
     Yes

  4.54                                                                                                                                          $161.93
Solis Mammography                                           Last 4 digits of account number       4    6    4    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 203268
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Dallas                          TX       75320
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Medical
Is the claim subject to offset?
     No
     Yes

  4.55                                                                                                                                            $0.00
Syncb/Rooms To Go                                           Last 4 digits of account number       7 5       2    3
Nonpriority Creditor's Name
                                                            When was the debt incurred?         06/2014
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Orlando                         FL       32896
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Charge Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 21
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 48 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.56                                                                                                                                            $0.00
Syncb/Rooms To Go                                           Last 4 digits of account number       7 5       6    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?         06/2014
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Orlando                         FL       32896
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Charge Account
Is the claim subject to offset?
     No
     Yes

  4.57                                                                                                                                        $1,258.00
Synchrony Bank/Belk                                         Last 4 digits of account number       2 2       2    9
Nonpriority Creditor's Name
                                                            When was the debt incurred?         02/2012
Attn: Bankruptcy Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Orlando                         FL       32896
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Charge Account
Is the claim subject to offset?
     No
     Yes

  4.58                                                                                                                                            $0.00
Synchrony Bank/Gap                                          Last 4 digits of account number       0 9       0    0
Nonpriority Creditor's Name
                                                            When was the debt incurred?         11/2013
Attn: Bankruptcy Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Orlando                         FL       32896
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 22
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 49 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.59                                                                                                                                            $0.00
Synchrony Bank/Sams                                         Last 4 digits of account number       5 0 4          9
Nonpriority Creditor's Name
                                                            When was the debt incurred?         03/04/2013
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Orlando                         FL       32896
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Charge Account
Is the claim subject to offset?
     No
     Yes

  4.60                                                                                                                                          $102.00
Synerprise Consulting                                       Last 4 digits of account number       3 7       8    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?         04/2017
5651 Broadmoor St
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Mission                         KS       66202
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Original Creditor Name: U.S. ANESTHESIA PARTNERS
Is the claim subject to offset?
     No
     Yes

  4.61                                                                                                                                            $0.00
Synerprise Consulting Services                              Last 4 digits of account number       4    6    4    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
2809 Regal Rd. # 107
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Plano                           TX       75075
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Solis Mammography
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 23
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 50 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.62                                                                                                                                            $0.00
United Collection Bureau                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
5260 South Wyck Blvd. Ste 206
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Toledo                          OH       43614-0190
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Capital One
Is the claim subject to offset?
     No
     Yes

  4.63                                                                                                                                            $0.00
Vital Recovery Services, Inc                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 923748
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Peachtree Corners               GA       30010-3747
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Collecting for - Synchrony Bank0
Is the claim subject to offset?
     No
     Yes

  4.64                                                                                                                                            $0.00
Wells Fargo Dealer Services                                 Last 4 digits of account number       1 9       7    8
Nonpriority Creditor's Name
                                                            When was the debt incurred?         02/2012
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 19657                                                    Contingent
                                                                Unliquidated
                                                                Disputed
Irvine                          CA       92623
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Automobile
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 24
                       Case 18-41971    Doc 8    Filed 09/12/18    Entered 09/12/18 15:14:35    Desc Main Document         Page 51 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                            Case number (if known)      18-41971-btr-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                           Total claim
previous page.

  4.65                                                                                                                                        $4,109.00
Wf/preferr                                                  Last 4 digits of account number       9 0       7    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?         06/2014
Po Box 14517
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Des Moines                      IA       50306
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt                Charge Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 25
                      Case 18-41971     Doc 8   Filed 09/12/18     Entered 09/12/18 15:14:35     Desc Main Document       Page 52 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                             Case number (if known)    18-41971-btr-7

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Able Moya c/o Jon Dumbeck                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Dumbeck and Dumbeck                                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
3355 Mission Ave, Ste 139                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                                 Last 4 digits of account number
Oceanside                       CA        72058
City                            State     ZIP Code
Able Moya v. Archco Superior Construction, and Jeremy Archer, Cause No. 37-2017-00007295-CU-FR-NC

Blazier, Christensen, Browder & Virr                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
John Ferguson                                                    Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
901 S. Mopac, Bldg. V, Ste 200                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                                 Last 4 digits of account number
Austin                          TX        78746
City                            State     ZIP Code
ACT Global Americas inc. v. Archco Superior Construction and Jeremy Archer, Cause No. D-1-GN-17-004557

BSC Management c/o J. Carlos Sedillo                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1155 Dairy Ashford, Ste 300                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                                 Last 4 digits of account number
Houston                         TX        77079
City                            State     ZIP Code

BSC Management LTD

Camp Davis Stone c/o Mitch Adams                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Mayo Mendolia & Vice LLP                                         Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
110 North College Ave, Ste 101                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                                 Last 4 digits of account number
Tyler                           TX        75702
City                            State     ZIP Code

Camp Davis Stone, v Archco Superior Construction, Cause No. 2016-11-0771

Chisum ISD c/o Blake Powell                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Powell & Leon LLP                                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
115 Wild Basin Rd, STE 106                                                                           Part 2: Creditors with Nonpriority Unsecured Claims

                                                                 Last 4 digits of account number
Austin                          TX        78746
City                            State     ZIP Code

Chisum ISD v Smallwood Archer Construction, Archco Superior Construction, and Insurors Indemnity Companies; Cause
No. 87806



Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                               page 26
                     Case 18-41971     Doc 8   Filed 09/12/18     Entered 09/12/18 15:14:35     Desc Main Document       Page 53 of 66



Debtor 1     Jeremy Darrell Archer
Debtor 2     Kristen LeAnn Archer                                                              Case number (if known)    18-41971-btr-7

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Denan c/o Don Barnett                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Barnett & Garcia                                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
3821 Juniper Trace, Ste 108                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Austin                         TX        78738
City                           State     ZIP Code
Genan v Archco Superior Construction, Cause No. 2015-40484

Don Lemaster c/o Robert Rosen                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
11300 N. Central Expressway, Ste 103                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Dallas                         TX        75243
City                           State     ZIP Code

Don Lemaster dba Golf Turfs of DFW v Archco Superior Construction and Jeremy Archer, Cause No. C-11236

Genan c/o Lisa Watkins                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Watkins & Watkins                                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
24 Greenway Plaza, Ste 1710                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Houston                        TX        77046
City                           State     ZIP Code
Genan v Archco Superior Construction, Cause No 2015-40484

Gene Rosen                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
147-10 77th Ave.                                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                              Business Debt                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Kew Gardens Hills              NY        11367
City                           State     ZIP Code


Heavy Equipment c/o Ian McCarthy                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Barnett & Garcia                                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
3821 Juniper Trace, Ste 108                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Austin                         TX        78738
City                           State     ZIP Code


Hensel Phelps Construction                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
420 6th Avenue                                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Greeley                        CO        80632
City                           State     ZIP Code

Sun Country Systems v. Hensel Phelps Construction Co. v. Archco Superior Construction, LLC; Case No. 01-18-0002-2034


Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                               page 27
                     Case 18-41971     Doc 8   Filed 09/12/18     Entered 09/12/18 15:14:35     Desc Main Document       Page 54 of 66



Debtor 1     Jeremy Darrell Archer
Debtor 2     Kristen LeAnn Archer                                                              Case number (if known)    18-41971-btr-7

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Insurors Indemnity c/o Alan Harlan                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Coats Rose                                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
14755 Preston Road, Ste 600                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Dallas                         TX        75254
City                           State     ZIP Code
Chisum ISD v Smallwood Archer Construction, Archco Superior Construction, and Insurors Indemnity Companies, Cause
No. 87806

LG Funding c/o Gene W. Rosen                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
147-10 77th Avenue                                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Kew Gardens Hills              NY        11367
City                           State     ZIP Code

LG Funding v Archco and Jeremy Archer

Mart ISD c/o Andrew Clark                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Naman Howell Smith & Lee                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
400 Austin Avenue, Ste 800                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Waco                           TX        76701
City                           State     ZIP Code

Mart Independent School District v. Smallwood Archer Construction and Archco Superior Construction, Cause No. 2018-
2786-4

Randy Kucera                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
General Counsel, Guaranty Bank & Trust                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
100 W. Arkansas St                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Mt. Pleasant                   TX        75455
City                           State     ZIP Code

Guaranty Bank & Trust v. Archco Superior Construction and Jeremy Archer and Kristin Archer, Cause No. 40,337

Scott Nichols c/o William Ferebee                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1790 Hughes Landing Blvd, Ste 550                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
The Woodlands                  TX        77380
City                           State     ZIP Code

Scott Nichols v. Archco Superior Construction, and Jeremy Archer




Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                               page 28
                     Case 18-41971     Doc 8   Filed 09/12/18     Entered 09/12/18 15:14:35     Desc Main Document       Page 55 of 66



Debtor 1     Jeremy Darrell Archer
Debtor 2     Kristen LeAnn Archer                                                              Case number (if known)    18-41971-btr-7

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Silverline c/o Jeffrey Zachter                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
30 Wall Street, 8th Floor                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
New York                       NY        10005
City                           State     ZIP Code
Silverline Services

Sprinturf c/o John Lockett III                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Morris, Manning, & Martin LLC                                   Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
3343 Peachtree Road NE                                                                              Part 2: Creditors with Nonpriority Unsecured Claims

1600 Atlanta Financial Center
                                                                Last 4 digits of account number
Atlanta                        GA        30326
City                           State     ZIP Code

Sprinturf v Archco Construction, Cause No 17-A-1839

Sun Country c/o Dennis Walsh                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
6355 Topanga Canyon Blvd. #419                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Woodlands Hills                CA        91367
City                           State     ZIP Code
Sun Country Systems v. Hensel Phelps Construction Co. v. Archco Superior Construction, LLC; Case No. 01-18-0002-2034;

Tate Miller c/o James Rodgers                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Moore Law Firm, LLP                                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
100 N. Main Street                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Paris                          TX        75460
City                           State     ZIP Code

Tate Miller v. Archco Superior Construction and Jeremy Archer; Cause No. 84947

The Zone c/o Timothy McCloskey                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
McCloskey Roberson, PLLC                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
945 Heights Blvd                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Houston                        TX        77008
City                           State     ZIP Code

The Zone Inc. v. Archco Superior Construction

Tire City                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
601 N Main St,                                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                Last 4 digits of account number
Paris                          TX        75460
City                           State     ZIP Code


Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                               page 29
                  Case 18-41971      Doc 8    Filed 09/12/18   Entered 09/12/18 15:14:35    Desc Main Document         Page 56 of 66



Debtor 1       Jeremy Darrell Archer
Debtor 2       Kristen LeAnn Archer                                                        Case number (if known)      18-41971-btr-7

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                 Total claim

Total claims       6a. Domestic support obligations                                                    6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                            6b.            $179,279.33

                   6c. Claims for death or personal injury while you were intoxicated                  6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.         6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                             6d.            $179,279.33




                                                                                                                 Total claim

Total claims       6f.   Student loans                                                                 6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                    6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                     6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.    6i.   +        $569,794.93


                   6j.   Total.   Add lines 6f through 6i.                                             6j.            $569,794.93




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                        page 30
                 Case 18-41971      Doc 8     Filed 09/12/18   Entered 09/12/18 15:14:35    Desc Main Document         Page 57 of 66




 Fill in this information to identify your case:
 Debtor 1            Jeremy                 Darrell              Archer
                     First Name             Middle Name          Last Name

 Debtor 2            Kristen                LeAnn                Archer
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number         18-41971-btr-7                                                                                 Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                           Schedule G: Executory Contracts and Unexpired Leases                                                page 1
                 Case 18-41971        Doc 8     Filed 09/12/18      Entered 09/12/18 15:14:35    Desc Main Document        Page 58 of 66




 Fill in this information to identify your case:
 Debtor 1             Jeremy                  Darrell                    Archer
                      First Name              Middle Name                Last Name

 Debtor 2            Kristen                  LeAnn                      Archer
 (Spouse, if filing) First Name               Middle Name                Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number          18-41971-btr-7                                                                                     Check if this is an
 (if known)
                                                                                                                         amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
               In which community state or territory did you live?                   Texas      Fill in the name and current address of that person.

               Kristen LeAnn Archer
               Name of your spouse, former spouse, or legal equivalent
               2305 Wildwood Lane
               Number        Street


               Paris                                           TX              75462
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
                    Case 18-41971       Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35             Desc Main Document         Page 59 of 66




 Fill in this information to identify your case:
     Debtor 1              Jeremy                 Darrell                 Archer
                           First Name             Middle Name             Last Name                           Check if this is:
     Debtor 2              Kristen                LeAnn                   Archer                                   An amended filing
     (Spouse, if filing)   First Name             Middle Name             Last Name
                                                                                                                   A supplement showing postpetition
     United States Bankruptcy Court for the:     EASTERN DISTRICT OF TEXAS
                                                                                                                   chapter 13 income as of the following date:
     Case number           18-41971-btr-7
     (if known)
                                                                                                                   MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                                Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page        Employment status               Employed                                           Employed
      with information about                                             Not employed                                       Not employed
      additional employers.
                                         Occupation               Subcontractor                                      Unemployed
      Include part-time, seasonal,
      or self-employed work.             Employer's name          Self-employed

      Occupation may include             Employer's address       2305 Wildwood Ln
      student or homemaker, if it                                 Number Street                                      Number Street
      applies.




                                                                  Paris                        TX       75462
                                                                  City                         State    Zip Code     City                    State   Zip Code

                                         How long employed there?          2 Months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1            For Debtor 2 or
                                                                                                                       non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $7,100.00                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                         3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                    4.               $7,100.00                  $0.00




Official Form 106I                                               Schedule I: Your Income                                                                 page 1
                     Case 18-41971            Doc 8       Filed 09/12/18         Entered 09/12/18 15:14:35                Desc Main Document         Page 60 of 66



Debtor 1        Jeremy Darrell Archer
Debtor 2        Kristen LeAnn Archer                                                                                             Case number (if known)    18-41971-btr-7
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $7,100.00            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.                  $0.00                $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.                  $0.00                $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                  $0.00                $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                  $0.00                $0.00
     5e. Insurance                                                                                          5e.                  $0.00                $0.00
     5f. Domestic support obligations                                                                       5f.                  $0.00                $0.00
     5g. Union dues                                                                                         5g.                  $0.00                $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.                   $0.00                $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $7,100.00                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                $0.00
     8e. Social Security                                                                                    8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00                $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $7,100.00 +             $0.00 =                                                   $7,100.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $7,100.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
                    Case 18-41971       Doc 8   Filed 09/12/18    Entered 09/12/18 15:14:35      Desc Main Document          Page 61 of 66




 Fill in this information to identify your case:
                                                                                                          Check if this is:
     Debtor 1              Jeremy                  Darrell                Archer                              An amended filing
                           First Name              Middle Name            Last Name                           A supplement showing postpetition
                                                                                                              chapter 13 expenses as of the
     Debtor 2              Kristen                 LeAnn                  Archer
     (Spouse, if filing)   First Name              Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:     EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number           18-41971-btr-7
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                   No
                                                Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                          Debtor 1 or Debtor 2           age              live with you?
                                                for each dependent...................................
      Debtor 2.                                                                                                                              No
                                                                                   Son                                 12 Yrs
                                                                                                                                             Yes
      Do not state the dependents'
                                                                                                                                             No
      names.                                                                       Daughter                            10 Yrs
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                   Son                                 7 Yrs
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                   Son                                 3 Yrs
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                       Your expenses

4.    The rental or home ownership expenses for your residence.                                                       4.                     $1,894.37
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                           4a.                     $819.22

      4b. Property, homeowner's, or renter's insurance                                                                4b.                     $390.00

      4c. Home maintenance, repair, and upkeep expenses                                                               4c.                     $100.00
      4d. Homeowner's association or condominium dues                                                                 4d.




 Official Form 106J                                              Schedule J: Your Expenses                                                         page 1
                  Case 18-41971     Doc 8    Filed 09/12/18   Entered 09/12/18 15:14:35   Desc Main Document      Page 62 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                            Case number (if known)   18-41971-btr-7
                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                    $200.00
     6b. Water, sewer, garbage collection                                                                  6b.                    $150.00
     6c. Telephone, cell phone, Internet, satellite, and                                                   6c.                    $100.00
         cable services
     6d. Other. Specify:      Cell Phone                                                                   6d.                    $100.00
7.   Food and housekeeping supplies                                                                        7.                     $600.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                                                                   9.                     $100.00
10. Personal care products and services                                                                    10.                    $100.00
11. Medical and dental expenses                                                                            11.                     $50.00
12. Transportation. Include gas, maintenance, bus or train                                                 12.                    $400.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                    $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.                   $130.00
     15b.   Health insurance                                                                               15b.

     15c.   Vehicle insurance                                                                              15c.                   $400.00
     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1      2010 Chevrolet Tahoe                                           17a.                   $606.03
     17b.   Car payments for Vehicle 2      2013 Cadillac CTS                                              17b.                   $580.27
     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify: IRS Payment                                                                    17d.                   $200.00
18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.




 Official Form 106J                                           Schedule J: Your Expenses                                                 page 2
                 Case 18-41971        Doc 8   Filed 09/12/18   Entered 09/12/18 15:14:35   Desc Main Document       Page 63 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                             Case number (if known)    18-41971-btr-7
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.     +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                   $7,019.89
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                   $7,019.89

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                   $7,100.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.    –              $7,019.89
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                     $80.11

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                            Schedule J: Your Expenses                                                  page 3
                     Case 18-41971            Doc 8       Filed 09/12/18         Entered 09/12/18 15:14:35                Desc Main Document                 Page 64 of 66




 Fill in this information to identify your case:
 Debtor 1                Jeremy                        Darrell                       Archer
                         First Name                    Middle Name                   Last Name

 Debtor 2            Kristen                           LeAnn                         Archer
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number             18-41971-btr-7                                                                                                                   Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $487,180.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $92,793.85
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $579,973.85
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $619,342.13
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                      $179,279.33
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $569,794.93
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                      $1,368,416.39




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $7,100.00
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $7,019.89




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
                  Case 18-41971     Doc 8     Filed 09/12/18   Entered 09/12/18 15:14:35        Desc Main Document       Page 65 of 66



Debtor 1      Jeremy Darrell Archer
Debtor 2      Kristen LeAnn Archer                                                         Case number (if known)        18-41971-btr-7


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                           Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                 Case 18-41971    Doc 8     Filed 09/12/18   Entered 09/12/18 15:14:35   Desc Main Document         Page 66 of 66




 Fill in this information to identify your case:
 Debtor 1           Jeremy                Darrell              Archer
                    First Name            Middle Name          Last Name

 Debtor 2            Kristen              LeAnn                Archer
 (Spouse, if filing) First Name           Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number        18-41971-btr-7                                                                                Check if this is an
 (if known)
                                                                                                                  amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer's Notice,
                                                                                                  Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Jeremy Darrell Archer                              X /s/ Kristen LeAnn Archer
        Jeremy Darrell Archer, Debtor 1                          Kristen LeAnn Archer, Debtor 2

        Date 09/12/2018                                          Date 09/12/2018
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                            page 1
